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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   4:10CR3129
                                           )
              V.                           )
                                           )              SUPPLEMENTAL
KENNETH W. MOTTIN,                         )            TENTATIVE FINDINGS
                                           )          FOR KENNETH W. MOTTIN
                     Defendant.            )
                                           )


      For reasons that are unclear, I overlooked Mr. Mottin’s motion for departure and
variance and statement of position when I issued tentative findings. I now issue tentative
findings regarding Mr. Mottin’s motion and statement of position.


      IT IS ORDERED that:


      (1)     The motion for departure and variance (filing 97) is tentatively denied.


      (2)     The objections to the presentence report (filing 98) will be taken up at
sentencing.

      DATED this 16 th day of October, 2012.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
